EXHIBIT D
Report of Andre Falco Jimenez

I. Documents Reviewed:

A. Affidavit of Sanford Angelos;
Affidavit of Dr. Lawrence Myers;
Affidavit of David Kroyer;

Claimants’ Answer to Government’s Motion for Summary Judgment;

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Affidavit of Officer Richard King 6/24/2010, including attachments (Photos,
Various Logs, and Certification);

Government’s “Deny’s False Alert Summary”;

. Affidavit of Officer Richard King 12/21/2010;

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. Preliminary Report of Dr. Lawrence Myers;

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Transcripts of Testimony from April 26-27, 2004 Motion to Suppress; and

J. United States v. Marrocco, 730 F.3d 711 (7™ Cir. 2013)
IT. Qualifications:

Please see attached Curriculum Vitae, Exhibit A.
Ill. Case Participation:

Please see attached Curriculum Vitae, Exhibit A.
IV. Opinion:

I reviewed and studied all case-specific documents I received from Komie &
Associates, which are itemized in Roman I. In addition, I have reviewed and studied
a wealth of scientific and educational materials related to the field of canine specific

odor detection throughout my 30 years career as a certified canine specific odor
detection trainer. Due to the number of sources I have reviewed over the past 30
years, a definitive list is impossible. However, when applicable in this opinion, I
shall attempt to detail any specific scientific or continuing education materials upon
which I attribute my opinion,

There are several issues I have determined that render the purported canine
sniff (search) and eventual seizure (by law enforcement) of the Defendant Res
invalid. Most predominately, many of the issues affecting the reliability and
invalidity of Deny’s purported sniff test are due to improper training techniques and
deployment techniques that were popular at the time of Deny’s and his Handler,
Officer Richard King’s, (hereinafter, “the team”) tenure (late 90s and early 2000s.)
From the records, it appears that the team’s training suffered from many, if not all,
of the training inadequacies of that era. Since that time (90s/early 2000s), many of
the techniques used to train the team have been significantly changed or completely
removed from common training and deployment practices for detection dogs,
because we now know that these techniques create unreliable detector dogs.

A review of the training documents reveals that there is no evidence that Officer
Richard King, or his department, trained or certified the team to alert to only
detecting narcotics tainted United States Currency and to ignore (not alert to)
untainted currency. Based on the number of “finds” referred to in the “field” records,
this is critical to maintain the integrity of the team. This is a critical error which
completely destroys any reliability of the team. The reason is because the failure to
maintain this integrity will result in a dog being trained to alert to all currency.

Compounding this critical error, Officer King admitted that he rewarded Deny
when he alerted in the field. This is a significant error because “rewarding” a dog in
the field, especially after “currency finds,” teaches (or reinforces) a dog to locate and
alert upon the odor he last sniffed. In the case of United States Currency finds, this
translates to training and rewarding the dog to find currency. It is impossible to
expect the dog to differentiate between the odor of the currency and any alleged
narcotics’ odor even if it was, in fact, present. In all cases, the odor of the United
States Currency will always be the prevailing odor for the dog. Therefore, the dog
will be trained (even if inadvertently) to add the odor of the currency itself to his
“trained odor” repertoire. In practice this error will result in a dog alerting on US
Currency, regardless of whether the currency is tainted with narcotics odor or not.
In this case, it is my opinion that King’s practice of rewarding Deny in the field, as
detailed above, completely renders Deny’s alerts to currency unreliable.

Another error that is made clear from the training documents is that the
training locations were not varied and unique enough to ensure the team did not
develop habitual behaviors (or simply, “bad habits”) that compromise reliability.
These bad habits concern both dog handling and the accuracy of locating trained
odors. This is confirmed by the handler’s impossible belief that Deny was “never"
wrong and had “never" ever (in his beliefs and experience) missed an odor or cleared
a location that did not have narcotics’ odor present. What we know for certain in the
detection dog industry, is that no dog is perfect; no handler is perfect; and no team
combination 1s perfect. And over the years what we have also learned is that the
easiest way to create the illusion proffered by Officer King is to not vary one’s

training locations and to not create realistic challenges for the teams one is
training. The reason varied training is critical is because an unvaried training
regimen will lead to a dog learning how to be successful (getting rewarded) as
opposed to maintaining the necessary behaviors to locate the desired narcotics’
odors.

The error of utilizing an unvaried training regimen is particularly important
given the search conditions existing in this case. I am of the further opinion that the
search involved in this case was unreliable due to how the dog was trained and
maintained. If a dog is trained and maintained in the manner that is described in
both the handler’s affidavit(s) and the provided documents, the dog simply learns to
be successful (getting rewarded) by following, not the odor of narcotics or even the
odor of currency, but by locating the freshest human odor in a room, particularly,
human hand odor. As the search in question was described, the currency was
brought into the room and “hidden” in a specific location.’ According to the handler,
the dog was then brought into the room to locate the desired substance: the
currency. Utilizing improper training techniques as I described, a dog (here, Deny)
learns to be successful at this locating “game” by finding (by its olfactory sense) the

most recent human odor from the person who “hid” the substance by locating this

 

' Whether an item is visually hidden is really quite irrelevant to a canine.
This improper and irrelevant fact is based on the false, anthropomorphic concept
that dogs “see” their world utilizing same senses that humans do. In fact, dogs do
not rely on their visual sense nearly as much as humans do; conversely, humans do
not rely on their olfactory sense nearly as much as dogs do.

I also note that there is some discrepancy in the record as to the location the
bag was allegedly hidden. This discrepancy does not alter my ultimate opinion
because as I stated, the use of the term “hidden” is relative. Hence, “visually hiding’
an object (a human concept) does not translate to “hiding” an object from a dog’s
sense of smell. Nevertheless, I have considered both scenarios in my analysis.

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scent and tracking it on the ground, air, and on the items in the room. The dog then
follows the human odor by tracking it to the location where the substance is
“hidden.” The dog will easily locate the visually “hidden” substance that has the
same human odor that he tracked and potentially, a recognized substance (in this
case, United States Currency). After which, the dog’s improper behavior (or bad
habit) is reinforced by rewarding the dog. Such is precisely what happened in this
case: Deny’s unreliable alert was improperly rewarded.

In over 30 years of training thousands of dogs and their handlers, I have seen
this happen on innumerable occasions. I have also proven my point by conducting a
confirmatory test. I hide NON-NARCOTIC items and substances, and then have the
team search for suspect items. In my years, I have used such things as pencils,
empty wallets, and car keys, for example, and hidden them in a room or vehicle.
The result is often a “positive” indication from dog teams for the presence of the
suspect odor when in fact absolutely zero odor was present.

This well-known phenomenon was demonstrated (and scientifically confirmed)
in a published study conducted by Lisa Lit, a professor at University of California
at Davis. See attached Exhibit B, Lit, L., Handler Beliefs Affect Scent Detection
Dogs Outcomes, 14 ANIMAL CoG. 3 at 389 (2011).

Another critical error in this case is that it appears the handler also had a
preexisting idea going into the search that a positive find was imminent. This is
problematic in that under these conditions, a dog-handler team will search until
successful. The team should never believe that a “find” is mandatory or probable.

Even though the handler did not know for sure the suspect currency was actually
used in trafficking narcotics, his belief appears to be that the currency was.

As a former Police Officer for the City of Anaheim, California, I am well aware
that the seizure of such a large amount of money was encouraged by my colleagues
in Law Enforcement. The need or desire to obtain an alert can override the realities
of what is true. I was able to demonstrate this fact for a documentary I recently
filmed for Reason Magazine in 2018. I used a Bed Bug Detection Dog to search a
vehicle. I demonstrated how I was able to obtain a positive dog alert to the trunk of
a vehicle that neither had bed bugs in it nor ever had bed bugs in it. I was able to
coax the alert based on a desire to elicit an alert on the vehicle in question, not
because it had bed bugs in it. This problem of “cueing” was also demonstrated in the
aforementioned Lisa Lit published article. (Exh. B.)

In regard to the issue of “all money” being tainted with narcotics or the presence
of methyl benzoate, this may be a very valid point and an issue further
undermining the reliability of Deny’s alert. However, in my expert opinion, it is far
more likely based on my review of the case materials, and my experience, and
expertise, that the dog-handler team in this case unreliably alerted to the subject
currency as a result of demonstrably unreliable training and poor practices during
in-service deployments. Notwithstanding, it is well documented that, in fact,
virtually all circulated United States Currency is contaminated with trace amounts
of controlled substances or narcotics of various origins, i.e., without limitation,
cocaine, PCP, meth-amphetamine, heroin, etc. Therefore, this fact simply presents
another reason to find Deny’s alert to the currency to be unreliable.

The reality of unreliable training is further documented by the total lack of
independent certifications for this dog-handler team. The only certificate in the
record is one of purported completion of a training course administered by the
Chicago Police Department by the same police agency. In other words, the CPD
claimed to train the dog and then claimed to certify the dog’s completion of the self-
administered training. At no time is it indicated in the training logs that any valid,
police canine organization tested and validated the effectiveness of the dog-handler
team.

Even though the United States Police K9 Association was available and was
considered a valid, independent source for certification, this team did not appear to
participate in such certification. In more recent years it is not only encouraged in
the industry, but it is also critical for a team to be certified by a valid, independent
organization in order to insure reliability. And again this problem is validated by
the handler’s apparent belief that he and his dog have never failed and are perfect
in both finding and clearing a location for narcotics. This is an obvious sign that the
team only participated in “self training” and was never challenged to perform
verification searches or deployments. And as stated, this “obvious sign” was
confirmed by the training records (or more properly, the lack thereof) for the team.

I am of the additional opinion that the amounts of substance(s) used to train
“Deny” indicated in the training logs is also low compared to today’s standards.
Very few times did the team appear to train on amounts more than a few grams of
the target substance. As a matter of fact it appears the team regularly trained on
amounts as little as 10 to 20 grams, and at times, even presumably microscopic

amounts. (See e.g, King Affidavit at paragraph 28.) In more recent years, we have
learned that this practice of using small samples for training negatively impacts
reliability. The reason is because this teaches a dog to regularly alert to residual or
trace amounts of narcotics. It is preferred that a dog be trained to locate
“substantial” amounts of narcotics. In other words, amounts you can easily see with
the naked eye.

Using relatively small amounts of substance to train is problematic because dogs
trained in this incorrect manner will alert to locations that were merely touched by
people who had previously been in contact with narcotics (prescription or marijuana
cigarettes for instance). A real world example of this is when a passenger on a
plane, who did not use or sell narcotics, dropped off his luggage at the curb pick up
location for an airline. And a baggage attendant, who had just smoked a marijuana
cigarette during his lunch break, touched and carried the same passenger’s luggage.
A drug dog trained on trace amounts of narcotics would alert to the handle of the
suitcase and falsely implicate the innocent passenger. I have personally replicated
this result in my training facilities and studies with narcotics detection dog teams.
And again this issue is admitted to by the handler’s sworn statement that when his
dog alerted and nothing was found, it could be traced to someone who was in
contact with narcotics or narcotic odor.

In my opinion, and for the reasons stated above, the sniff search conducted by

the dog-handler team in this case is unreliable.
V. Compensation:

My initial retainer in this case was in the amount of $3,000.00. My hourly
billable rate for general services is $250.00 per hour and for deposition or trial work

it is $400.00 for the first hour and $300.00, thereafter.

 
EXHIBIT-A
Andre Falco Jimenez
CV.

EMPLOYMENT HISTORY

1983-1986
1986-2005
1992-1993
1992-2004
1992-1997
1995-1997
1994-2005
1995-2004
1997-2000

1995-Present
2001-Present

2007-2012
2011-2012

Reserve Police Officer, Anaheim Police Department

Police Officer, Anaheim Police Department

Instructor - Golden West College, Basic Academy

Instructor - Orange County Sheriff Department, Basic Academy
K-9 Team Trainer for the Anaheim Police Department
Instructor - Work Dogs International

Instructor - Anaheim Police Department's P.A.C.E. Program
Instructor - K9 Academy for Law Enforcement

Contributing Editor-Dog Sports Magazine

Owner/President of Falco K9 Academy (Falco Enterprises, Inc)
TASA expert for Detection Dogs, Police K9’s and civilian dogs
Director, Jake’s Dog Foundation

President of Falco K9 Security, Services and Investigations Inc

ASSIGNMENTS

1984-1987
1987-1989
1989-1996
1999-2005
1991-1996
1996-1999

Author

Reserve Police Officer

Patrol Officer

Canine Officer

Patrol Officer

Anaheim Police S.W.A.T. Canine Team

SVU Detective (Family Crimes and Sex Crimes)

Dog Sniff Evidence (Number 1 Bestseller)
Falco-Walking with God and Dog (ISBN)
8-Week Basic Handler Manual (ISBN)
Modern Decoying for the Patrol Dog
Detection Dog Manual

INSTRUCTOR, K9 CONFERENCES AND SEMINARS
Anaheim, California - Spring 1996

Orlando, Florida - Fall 1996

Ventura, California - April 1997

Houston, Texas - May 1997

Orlando, Florida - December 1997

San Jose, CA - May 1998

New London, Connecticut - October 1998
Ventura, California - June 1999

Tavares, Florida - March 2000

Boulder, Colorado - May 2000

Sacramento, California - October 2000
Houston, TX - January 2001

Lake County, Florida - March 2001
Portsmouth, New Hampshire - September 2001
Lake County, Florida - March 2002

New London, Connecticut - September 2002

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Anaheim, California - September 2002
Lake County, Florida - April 2003
Phoenix, Arizona - October 2003
Lake County, Florida - March 2004
Phoenix, Arizona - September 2004
North Las Vegas, Nevada — October 2005
Utah State Police Officer Conference, Cedar City — 2006
Oregon Lawyers Association, Drugs and Searches Seminar September 2006
2007 - North Carolina Academy of Trial Lawyers, Meth 101— Defending a Meth Case
2008 Las Vegas Seminar on Detection Dogs — Planet Hollywood
2009 NACDL - Las Vegas, Nevada
NACDL —Portland, Oregon
NACDL - North Carolina
2010 Oregon Lawyers Association, Drugs and Searches Seminar November
NACDL Las Vegas
NACDL Houston, Texas
2011 Las Vegas Seminar on Bed Bug Detection Dogs — Orkin — the Golden Nugget
Oregon Lawyers Association, Drugs and Searches Seminar-November-Portland
2012 NACDL - Las Vegas
NACDL - Portland, Oregon
NACDL - Sun Valley, Idaho
National Press Corp/US Supreme Court, Washington DC Narcotics Detection
2013 Northern California German Shepherd Rescue — “Aggression and Training with
Love and Respect”
2014 NACDL - Aspen, Colorado
2014 NACDL - Las Vegas, Nevada

CERTIFICATES

California Police Officer’s Standards and Training - Reserve Police Officer
California Police Officer’s Standards and Training - Basic

California Police Officer’s Standards and Training - Intermediate

California Police Officer’s Standards and Training - Advanced

California Police Officer’s Standards and Training - Police Canine Evaluator
San Jose State University - Homicide Investigation

Academy of Justice, Riverside, California - Advanced Canine Handler

Arizona Law Enforcement Canine Association, Inc. - Police Dog Civil Litigation
Arizona Law Enforcement Canine Association, Inc. - Criminal Psychological Profiles
Work Dogs International - Advanced Police Dog Agitation (200 hours)

Orange County Police Canine Association - SWAT Dog Deployments

Orange County Police Canine Association - Police Dog Civil Litigation

Orange County Police Canine Association - Tracking and Trailing

Orange County Police Canine Association - Canine Psychology

Chapman University - Criminal Investigation

Department of Justice - Dignitary Security

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COURT RECOGNIZED K9 EXPERT

2013 — Allen vs Oregon

2013 — Rustad vs Loma Linda University

2013 — Marcellus Ramon vs State of Oregon

2013 — State of Nebraska vs Scott Knippelmeir
2013 — Oregon vs French

2013 — Oregon vs Lawson

2013 — Iowa vs Timothy Nebel

2013 — Chad Hillyer vs State of Illinois

2013 — Robert Capppiello vs State of California
2013 — Brian Barrett vs State of California

2013 — South Dakota vs Paul Miller

2012 — Arizona vs Jose Cruz

2012 — USA vs Woodcock

2012 — Tezona vs State of Califronia

2012 — Ohio vs Mendo Love

2012 — USA vs Wilson

2012 - USA vs Keller

2012 — USA vs Aispuro-Haros

2012 — John Davis vs Ohio

2011 — James Black vs Lindenwold Township, NJ
2011 — State of Maryland vs Taylor-Williams Ryan J
2010 — State of Illinois vs Elizabeth D Loveless
2010 — State of Maryland vs Wilson Timothy McCoy
2009 — State of California vs Michael Espalin
2008 — Vannessa Hargis v. Contra Costa, CA
2006 - Arizona vs Randa! Harrell

2005 — Gerard Falzo, ET AL. V. County of Essex, ET AL.
2004 — Porras (Rincon) vs City of Fontana

2004 — Frank Robles v. City of Fontana

2004 — T. Vanetik v. Chapman Animal Hospital
2004 — Helen Deir v. City of Southgate

2003 — Williamson v. Barnes

2003 — Jimenez v. Thomas (unrelated)

2003 — State of Nevada v. M. Van Winkle

2003 — Puree v. La Pietra

2003 — United States v. A. Sanchez

2002 — J. Craig v. City of South Lake Tahoe

2002 — State of Wyoming v. J. Arlynn

2002 — State v. C. Wilkening

2001 — Connon v. Rosagno

Memberships
North American Police Working Dog Association (NAPWDA)

National Police K9 Association (Individual)

National Police K9 Association (Company)

World Detector Dog Organization (Certified Instructor)
Anaheim Police Officer’s Association

Orange County Police Canine Association (Former President)
National Tactical Officer’s Association

3 of 3
American Society for Industrial Security
Friends of the Anaheim Police K9 Unit
United States Police Canine Association

California Narcotics Canine Association

AWARDS AND CITATIONS

Received the Anaheim Police Departments —- Career Achievement Award
Certificate of Recognition from the California State Assembly

City of Anaheim Citation - "Outstanding performance at K-9 Competitions"
Operations Division, "Officer of the Year."

Division Commander Commendation - "Canine Charity Fund Raiser"
Division Commander Commendation - "Community Service"

Division Commander Commendation - "Homicide Investigation"

Operation Division, "Officer Of the Month" for December 1995.

SPECIAL PROJECTS

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Developed the canine unit's, "Commercial Building Training Program."
Anaheim Police Canine team equipment studies.

Researched and located a new contract trainer for the Anaheim canine team.
Produced and directed three charity benefit shows for the Orange County Police
Canine Association. Raising over $150,000.00.

President of the Orange County Police Canine Association.

Certified by P.O.S.T. as a state police canine evaluator.

Disney G.O.A.L.S. - Teach and coach the disadvantaged children of the
Jeffrey/Lynne, Ponderosa Park and Guinida areas in the city of Anaheim.
Traveled to Europe to study canine training. While there, I also tested and
selected work dogs for five agencies. Including Anaheim PD.

Coordinator for the 1996 International Police Canine Conference.

Invented and improved on police and police canine equipment for training and on
the job.

Developing an “E-coli” Detection Dog for the State of California (In progress
2008).
EXHIBIT-B
Anim Cogn
DOI 10.1007/s10071 010 0373 2

 

 

Handler beliefs affect scent detection dog outcomes

Lisa Lit - Julie B. Schweitzer - Anita M. Oberbauer

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Abstract Our aim was to evaluate how human beliefs
affect working dog outcomes in an applied environment.
We asked whether beliefs of scent detection dog handlers
affect team performance and evaluated relative importance
of human versus dog influences on handlers’ beliefs.
Eighteen drug and/or explosive detection dog/handler
teams each completed two sets of four brief search sce-
narios (conditions). Handlers were falsely told that two
conditions contained a paper marking scent location
(human influence). Two conditions contained decoy scents
(food/toy) to encourage dog interest in a false location (dog
influence). Conditions were (1) control; (2) paper marker;
(3) decoy scent; and (4) paper marker at decoy scent. No
conditions contained drug or explosive scent; any alerting
response was incorrect. A repeated measures analysis of
variance was used with search condition as the independent
variable and number of alerts as the dependent variable.
Additional nonparametric tests compared human and dog
influence. There were 225 incorrect responses, with no
differences in mean responses across conditions. Response

 

L. Lit
Department of Neurology, University of California at Davis,
Sacramento, CA 95817, USA

J. B. Schweitzer
Department of Psychiatry and Behavioral Science,
University of California at Davis, Sacramento, CA 95817, USA

A. M. Oberbauer
Department of Animal Science,
University of California at Davis, Davis, CA 95616, USA

L. Lit (2X)

M.LN.D. Institute, University of California at Davis,

2805 50th Street, Room 2415, Sacramento, CA 95817, USA
e mail: llit@ucdavis.edu

Published online: 12 January 2011

patterns differed by condition. There were more correct (no
alert responses) searches in conditions without markers.
Within marked conditions, handlers reported that dogs
alerted more at marked locations than other locations.
Handlers’ beliefs that scent was present potentiated handler
identification of detection dog alerts. Human more than dog
influences affected alert locations. This confirms that
handler beliefs affect outcomes of scent detection dog
deployments.

Keywords Dog - Canine - Scent detection -
Social cognition - Interspecies communication

Introduction

In the early twentieth century, a horse named Clever Hans
was believed to be capable of counting and other mental
tasks. The psychologist Oskar Pfungst confirmed that
Clever Hans was in fact recognizing and responding to
minute, unintentional postural and facial cues of his trainer
or individuals in the crowd (Pfungst 1911). The “Clever
Hans” effect has become a widely accepted example not
only of the involuntary nature of cues provided by
onlookers in possession of knowledge unavailable to oth-
ers, but of the ability of animals to recognize and respond
to subtle cues provided by those around them. However, an
additional important consideration was the willingness of
onlookers to assign a biased interpretation of what they saw
according to their expectations.

Experimental paradigms for investigation of animal
behaviors are designed to minimize or eliminate confounds
arising from the Clever Hans effect. Because the abilities of
domestic dogs to respond to human social cues have been
extensively documented (reviewed in Miklosi et al. 2007;

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Reid 2009), a Clever Hans effect might be particularly
prevalent in dogs. Indeed, the reliance of some dogs on
human cues has been shown to override olfactory or visual
cues indicating the location of food (Szetei et al. 2003). In
one experiment, about 50% of dogs would go to an empty
bowl indicated by human pointing rather than to a bowl in
which the dog had seen and smelled food (Szetei et al. 2003).

This finding was notable in view of the exceptional
olfactory acuity in the domestic dog. Humans have capi-
talized on dogs’ olfactory sensitivity through use in an
ever-expanding array of scent detection activities (e.g.,
Horvath et al. 2008; McCulloch et al. 2006; Oesterhelweg
et al. 2008; Wasser et al. 2004). Scent detection dogs
search an area as directed by their handlers, issuing an
operant trained response (“alert”) upon detection of their
trained scent. However, scent detection dog performance is
not solely dependent on olfactory acuity. Cognitive factors
such as context dependence (Gazit et al. 2005) and the
interaction between training paradigm and the nature of the
detection problem (Lit 2009; Lit and Crawford 2006) also
can impact performance.

Because the alerting response is initially trained by
handler cueing upon dog interest in the desired target scent
(e.g., Wasser et al. 2004), it is possible that dogs are also
being conditioned to respond to additional unintentional
human cues. Generally, trained dogs, including search and
rescue dogs, look at humans less than untrained dogs in
experimental paradigms requiring dogs to solve a problem
such as opening a container (Marshall-Pescini et al. 2009,
2008; Prato-Previde et al. 2008). Indeed, an inverse rela-
tionship between owner/handler dependence and problem-
solving performance had previously been identified; that is,
a more dependent relationship in companion dogs fostered
impaired problem-solving performance compared with
working dogs (Topal et al. 1997).

Yet given the social cognitive abilities of the domestic
dog, it is possible that even highly trained dogs might
respond to subtle, unintentional handler cues. Dogs’ biases
for utilizing human movements or social cues impair
decision-making and reasoning abilities (Erdohegyi et al.
2007). Dog behavior is further affected by owner/handler
gender and personality (Kotrschal et al. 2009). Moreover,
dogs evaluate attentional cues of their owners through cues
including eye contact and human eye, head and body ori-
entation (Schwab and Huber 2006). Dogs can further dis-
tinguish the focus of human attention, using other visual
cues such as pointing, gazing, head nodding in the direction
of a target, glancing at a target and head turns toward a
target affect selection of a target object by a dog (Soproni
et al. 2001; Viranyi et al. 2004). In fact, nonverbal cues
including proximity of the human to the dog and contextual
learning of verbal commands have been shown to moderate
dog response to verbal commands (Fukuzawa et al. 2005).

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For scent detection dog handlers, beliefs that scent is
present might result in either sufficient inadvertent postural
and facial cues so that dogs will respond regardless of the
absence of scent, beliefs that dogs are providing their
trained alert response or simply beliefs that alerts should be
called regardless of dog behavior. All of these effects
would result in false alerts identified by handlers. These
handler beliefs might be influenced by human communi-
cation regarding target scent location. Alternatively, han-
dler beliefs might be influenced by increased dog interest in
a nontarget scent. The main questions of this study were to
(1) determine. whether handler beliefs affect detection dog
outcomes and (2) evaluate relative importance of dog
versus human influences on those beliefs. The present
study attempted to determine whether handler beliefs of
target scent location would affect outcomes in scent
detection dog searches. Importantly, this study was not
evaluating abilities of these detection dogs to detect their
target scents. Because all dogs were certified, many with
confirmed deployment finds their ability to correctly locate
target scent was considered to be previously established.
Therefore, in order to evaluate outcomes solely based on
handler beliefs and expectations, this study was designed
so that any alert issued would be a “false” alert; that is,
there was no target scent present in any searches conducted
for the purposes of this study.

Materials and methods
Handler/dog teams

A total of 18 handler/detection dog teams, recruited through
word-of-mouth from multiple agencies, participated in this
study. These teams were certified by a law enforcement
agency for either drug detection (n = 13), explosives
detection (n = 3), or both drug and explosives detection
(n = 2). Demographic details of teams, including dog age,
dog breed, dog years of detection experience and handler
years of detection experience are presented in Table |. Upon
detection of target scent, all explosives dogs, both drug/
explosives dogs and one drug detection dog were trained to
issue a passive alert; that is, the dog would sit at the location
of target scent detection. One drug detection dog was trained
to issue a passive active alert (sitting and barking), and all
remaining drug dogs were trained to issue an active alert
(barking) upon detection of target scent. All drug detection
teams and two teams trained to find explosives had suc-
cessfully identified their target scents in law enforcement
deployment situations. Additional demographic information
collected included handler years of experience handling
detection dogs, dog years of scent detection experience, dog
age and handler-reported breed of dog. In order to maintain
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Table 1 Demographic data,n 18 dog/handler teams

 

 

Day 1 2 AU
Dog sex Male intact 4 9 13
Male neutered 1 0 1
Female intact 2 1 3
Female spayed 0 ] 1
Dog breed GSD 2 1 3
Labrador 1 0 1
Belgian malinois 3 5 8
Dutch shepherd 0 2 2
Mix 1 3 4
Dog age (years) Mean 50 72 64
Median 40 60 58
Low 2.0 50 2.0
High 10.0 11.0 11.0
Handler scent experience (years) Mean 5.6 40 4.6
Median 2.0 3.0 3.0
Low 10 1.0 1.0
High 18.0 7.0 18.0
Dog scent experience (years) Mean 22 3.3 2.9
Median 132.0 15
Low 10 04 04
High 5.0 70 7.0

 

confidentiality, and so that individual teams could not be
identified through demographic information, these data were
collected anonymously and cannot be linked to any perfor-
mance data. Due to subject availability, this study was
completed across 2 days, with seven teams completing the
experiment on the first day, and the remaining 11 teams
completing the experiment on the second day.

Procedures

The experimental paradigm in this study was based on a
paradigm previously applied to evaluate response conflict
in disaster search dogs (Lit and Crawford 2006). Handlers
conduct a series of short searches for their target scent
across different search scenarios, each representing a dif-
ferent experimental condition. In the current study, there
was no target scent present, so that any alert identified by
handlers was considered a false alert.

Handler beliefs were influenced either by verbally
communicating to the handlers that a specific marker was
an indicator of scent location (i.e., human influence), by
encouraging dogs to display unusual interest in a specific
location with a decoy scent (i.e., dog influence), or by a
specific marker that actually indicated the location of a
decoy scent (combined human and dog influence). A 4-way
single factor experimental design was used to test effects of
these influences on handler beliefs. The independent

variable was search condition, a within-subjects variable
with four levels:

1. NULL Unmodified.

2. MARKED NULL A piece of 8 1/2” x 11” red con-
struction paper was taped to the door of a cabinet.

3. UNMARKED DECOY Two Slim-Jim sausages
(removed from their wrappers and stored with their
wrappers in an unsealed plastic bag) and a new tennis
ball were hidden in the bottom of a pot and placed in a
metal cabinet with the doors closed.

4. MARKED DECOY Two Slim-Jim sausages (removed
from their wrappers and stored with their wrappers in
an unsealed plastic bag) and a new tennis ball were
hidden in a covered metal electric fryer, which was
marked with a piece of red construction paper taped to
the outside of the fryer. To minimize the possibility
that decoy scents in UNMARKED DECOY and
MARKED DECOY were not equally detectable and
to encourage dog interest in the decoy scents, the
sausages were rubbed along the outside of the cabinet
(UNMARKED DECOY) and the electric fryer
(MARKED DECOY).

Search conditions were four rooms within a church that
had not previously been used for detection dog training
purposes. Each room was approximately 30 40 m? and
contained cabinets, tables and chairs and art supplies. Each
condition was identified only as A, B, C or D, indicated by
a paper taped on the outside of the door of each room. The
experimenter did not touch any items around the rooms,
except to place the decoy scents and/or paper markers. To
avoid contamination of paper markers with decoy scents,
paper markers were placed prior to placement of decoy
scents. In order to maintain the belief that the experimenter
was setting out target scents in each condition, at the
beginning of each testing day, the experimenter carried a
metal box containing 12 half-ounce samples of marijuana
triple bagged in sealed plastic bags, and a canvas bag
containing 12 half-ounce samples of gunpowder triple
bagged in sealed plastic bags. Upon entering each condi-
tion, the experimenter immediately set these containers
down by the door. The experimenter did not handle the
scents, and the containers were never opened inside the
church. Decoy scents and paper markers were never in
contact with these containers and were kept in a separate
briefcase carried by the experimenter.

Dog/handler teams completed two searches (maximum
5 min each) in each of the four search areas, for a total of
eight trials (“runs”) per team. Handlers were provided with
a small card containing their assigned sequences of their
eight runs, randomly counterbalanced across participants
and search areas, Additional written and verbal instructions
were provided to handlers that each condition might

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contain up to three target scents and that target scent
markers consisting of a red piece of construction paper
would be present in two conditions. No information was
provided about the decoy scent.

Each condition had a single observer present. Prior to
each search, handlers would indicate to the observer
whether their dog was a drug or explosives dog and whe-
ther their dog issued a passive or active alert. When a
handler “called an alert,” that is, confirmed that the dog
had found a target scent location and was issuing its trained
operant response, the observer would record time of alert
and alert location specified by the handler. In marked
conditions, if handlers called alerts on the location marked
by the paper, observers would record an M to reflect this.
Observers recorded alerts as called by handlers and did not
evaluate validity of alerts. The same rooms were used for
both days of testing. Decoy scents and markers were
removed at the end of the first day of testing, and identical
but previously unused decoy scents and markers were used
for the second day of testing.

This study was double-blind. Neither handler/dog teams
nor observers were aware of the conditions of each search
area. Because the study was completed across 2 days and
we did not want to jeopardize the double-blind nature of
this study, all handlers were debriefed and told about the
contents of each condition upon the completion of
the second day of testing. The experimenter (L. Lit) was
the only person present whe was aware of the conditions of
each search area.

Dependent variables were total number of alerts issued
by each dog as reported by handlers in each search area.
The correct score for each search area was 0. All alerts
were false alerts.

The Institutional Review Board and Animal Care and
Use Committee at the University of California at Davis
approved this study, and all participants provided written
consent,

Statistical analyses

Data were analyzed using SPSS Version 17.0.1. All anal-
yses used a significance threshold of « < 0.05 (two-tailed).
An omnibus mixed ANOVA was conducted to evaluate
effects of day of testing (between groups) and condition
(repeated measures) on number of alerts, To evaluate
effects of handler influence and dog influence, data were
also analyzed as a repeated measures 2 x 2 ANOVA
{handler influence (yes/no) and dog influence (yes/no)).
Paired f tests were used to compare alerts between first and
second runs of each condition. A chi-squared goodness of
fit test compared clean runs (runs with no alerts) in
unmarked and marked conditions, Within the MARKED
NULL, UNMARKED DECOY and MARKED DECOY

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conditions, a log likelihood analysis was used to compare
rans for which (1) alerts included either a marker or the
unmarked decoy scent, (2) alerts did not include the marker
or unmarked decoy scent and (3) no alerts were issued,
followed by chi-squared goodness of fit tests to compare
distribution of these within conditions.

Results

In order to evaluate effects of handler beliefs and expec-
tation on detection dog performance, this study measured
performance of 18 handler/dog teams in four separate
search areas (NULL, MARKED NULL, UNMARKED
DECOY, MARKED DECOY, described in “Materials and
methods”). Each team ran each search area twice, for a
total of 36 nins per condition @ runs/team x 18 teams)
and an overall total of 144 separate runs (4 search
areas x 2 runs/team/area x 18 teams) (Fig. 1).

Day of testing and condition group differences

Overall, because multiple alerts per team within a condition
were possible, there were a total of 225 alerts issued. There
were 21 (15%) clean runs and 123 (859%) runs with one or
more alerts. The omnibus mixed ANOVA using the model
“number of alerts = day of testing (between groups) +
condition (within-subjects) + [day of testing * condition]”
revealed no difference in mean alerts between teams running
on the first and second days, F(1, 16) = 0.94, P = 0,35; no

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Fig. 1 Alerts for each team across each condition for Run 1 {light
bars.n 1 8/condition) and Run 2 (dark bars;n 1 8/condition)
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difference in mean alerts across conditions, F(3,48) = 0.09,
P = 0.97; and no interaction, F(3, 48) = 0.63, P = 0.60.
Data from both days were subsequently combined for further
analysis. The repeated measures 2 x 2 factorial ANOVA
found no main effect of human influence, F(1, 17) = 0.06,
P = 0.81; no main effect of dog influence, F(1, 17) = 0.01,
P = 0.93; and no interactions between human influence and
dog influence, F(1, 17) = 0.01, P = 0.94.

First and second run differences

Within each condition, there was no difference in mean
alerts between the first and second runs, except for NULL,
where there were more alerts on the second run compared
with the first run (paired ¢{17] = —2.83, P = 0.01).

Effect of marker on clean runs

Distribution of clean runs differed across unmarked and
marked areas. There were more clean runs in unmarked
areas (NULL and UNMARKED DECOY combined)
(nm = 15) than in marked areas (MARKED NULL and
MARKED DECOY combined) (n = 6), X7[1, 21] = 3.86,
P = 0.05. In contrast, distribution of clean runs was not
different across runs with and without decoy scent (NULL
and MARKED NULL combined, n = 11, compared with
UNMARKED DECOY and MARKED DECOY combined,
n = 10), X7[1, 21] = 0.05, P = 0.827.

Human and dog influences on alert locations

Alert locations in conditions marked with paper (MARKED
NULL), containing decoy scent (UNMARKED DECOY)
and containing decoy scent marked with paper (MARKED
DECOY) were compared to evaluate differences of human
influence on handler beliefs and dog influence on handler
beliefs. Runs were grouped according to whether any one of
the alerts in that run (1) included the marker and/or decoy
scent; (2) did not include the marker and/or decoy scent; or
(3) the run was clean (no alerts). These groups were
dependent on condition, log likelihood [4, 108] = 22.236,
P<0.001, @=041 (Fig. 2). There were significantly
more runs including alerts on the marker than either clean
runs or runs not including alerts on the marker in both
MARKED NULL (X°[1, 36] = 21.78, P <0.001) and
MARKED DECOY (X?[2, 36] = 36.5, P < 0.001) (Fig. 2).
This was different than UNMARKED DECOY, where there
were no differences between clean runs, runs with alerts on
the decoy scent and runs not including alerts on the decoy
scent (X7[2, 36] = 4.67, P = 0.09) (Fig. 2). Conversely,
comparing across conditions (black bars, Fig. 2), there were
more runs with alerts on marked locations in MARKED
NULL and MARKED DECOY than UNMARKED

uw Alert on marker and/or decoy scent
a No alert on marker and/or decoy scent
<2. Clean runs (no alerts)

 

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Runs

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Marked Null Marked

Decoy

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Decoy

Fig. 2 Runs within each condition (combined » 36) with alerts
including marker and/or decoy scent (black bars), not including
marker and/or decoy scent (dark gray bars), or clean runs (light gray
bars). Asterisks represent statistically significant differences between
groups as shown by log likelihood (across all conditions) and chi
squared test (within conditions); ***P < 0.001; n.s. not significant

DECOY, although the differences were not significant when
corrected for multiple comparisons (Fig. 2).

Trend analysis

Finally, counterbalancing run order across participants
ensured that each participant ran conditions in a different
order. To evaluate whether there was an effect of sequence
order of runs on alerts, all runs were reordered to reflect the
sequence in which participants completed the conditions.
Trend analysis was performed relating condition order to
the number of alerts per run. An analysis of the cubic
component of trend was significant, F(1, 17) = 7.67,
P=0.01, 1 = 0.31, indicating that this trend accounted
for over one-third of the variance in number of alerts per
run (Fig. 3, solid line). This trend was consistent across
both days of testing (Fig. 3, dotted and dashed lines).

Discussion

The goals of this study were to (1) identify whether handler
beliefs affect detection handler/dog team performance and
(2) evaluate relative importance of dog versus human
inputs on those beliefs. To test this, we influenced handler
beliefs and evaluated subsequent handler/dog team per-
formance according to handler-identified alerts. The over-
whelming number of incorrect alerts identified across
conditions confirms that handler beliefs affect perfor-
mance. Further, the directed pattern of alerts in conditions
containing a marker compared with the pattern of alerts in
the condition with unmarked decoy scent suggests that
human influence on handler beliefs affects alerts to a
greater degree than dog influence on handler beliefs. That

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Ordered Runs

Fig. 3 Cubic trend for all teams (solid black line, n 18) relating
condition run order (ordered runs) to marginal means of alerts per run
as shown by trend analysis, P 0.01, ne 0.31. Trends for teams
from first day (dashed line, n 7) and second day (dotted line,
n 11) are also shown for comparative purposes

is, total number of alerts identified by handlers did not
differ across conditions. However, distribution of these
alerts did differ across conditions; more alerts were iden-
tified on target locations indicated by human suggestion
(paper marker) than on locations indicated by increased
dog interest (hidden sausage and tennis balls).

In light of written and verbalized instructions that “Each
scenario may contain up to 3 of your target scents,” it was
interesting that there were 12 runs with either four or five
alerts (Fig. 1). It was unclear whether handlers did not
attend to the instructions, did not remember the instructions
or believed that there were more than three target scent
sources in each condition.

There are two possible explanations for the large num-
ber of false alerts identified by handlers. Either (1) handlers
were erroneously calling alerts on locations at which they
believed target scent was located or (2) handler belief that
scent was present affected their dogs’ alerting behavior so
that dogs were alerting at locations indicated by handlers
(that is, the Clever Hans effect).

In the event that handlers were indeed asserting dog alerts
regardless of dog response (or lack thereof), there are two
possible causes. The handlers’ beliefs that scent was present
may have been sufficient motivation to identify alerts even
when the handlers were clearly aware that the dog had not
provided the trained alert response behavior. Alternatively,
the handlers’ beliefs were sufficient to generate a form of
confabulation. Broadly defined, confabulation refers to false
beliefs that may be unrelated to actual experienced events
(Bortolotti and Cox 2009). Information regarding prevalent
events (events that are common and therefore of increased
likelihood) makes events more self-relevant and increases

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beliefs in occurrence of such events (van Golde et al. 2010).
Thus, the perceived likelihood that scent was present across
conditions would have contributed to confidence in handler
beliefs of scent and dog responses. Because other-generated
suggestions influence beliefs and subsequent actions more
strongly than self-generated suggestions (Pezdek et al.
2009), the experimenter-provided suggestion that target
scent was present may have further contributed to this effect.
However, the conclusion that handlers are asserting their
dogs have alerted simply upon seeing the marked areas
regardless of actual dog response does not account for the
numerous additional alerts occurring in other areas. In
addition, the experimenter was informed that three handlers
admitted to overtly cueing their dogs to alert at the marked
locations, suggesting that handlers would not call alerts
unless and until they observe the dogs’ trained responses.
Handlers are trained to recognize and reward specific
behaviors of their dogs. The exhibition of an alert is an
obvious and discrete behavior. Although data describing
observer assessments were not collected, all observers were
familiar with detection dog training and performance, and
all observers were visibly surprised upon debrief (L. Lit,
personal communication). Therefore, it is unlikely, although
cannot be absolutely confirmed, that handlers called alerts
on markers without seeing an appropriate behavior from the
dog.

It may be more parsimonious to suggest that dogs
respond not only to scent, but to additional cues issued by
handlers as well. This is especially plausible since, in
training, alerts are originally elicited through overt handler
cueing. Cueing in initial training may include overt cues,
verbal commands and physical prompting. Cues may also
include more subtle unintentional cues given by handlers
such as differences in handler proximity to the dog
according to scent location, gaze and gesture cues, and
postural cues.

Human cues that direct dog responses without formal
training include pointing, nodding, head turning and gazing
(reviewed in Reid 2009). While formal obedience training
can enhance dogs’ use of human cues (McKinley and
Sambrook 2000), type of training can differentially affect
dogs’ human-directed communicative behaviors (Marshall-
Pescini et al. 2009, 2008). Gazit et al. (2005) found
diminished response when an area searched repeatedly was
lacking target scent. While the proposed reason for their
findings emphasized effects of context specificity on the
detection dogs (Gazit et al. 2005), the current findings raise
the possibility that at least some of the effects of Gazit
et al. (2005) might have arisen due to handler beliefs that
scent would not be present in that area, with subsequent
attenuation of dog response.

Because the current study did not include videotape of
handler/dog team performance, there is no way to identify
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Table 2 Alert locations and alert frequencies (#) in each location for all scenarios

 

 

 

NULL MARKED NULL UNMARKED DECOY MARKED DECOY

Alert location # Alert location # Alert location # Alert location #
Air conditioner 11 MARKER 32 DECOY SCENT 18 MARKER 29
First aid kit 10 Easel 9 Piano 15 Clear bin 12
Wall heater 9 Tall cabinet 6 Wall heater 7 Oven 3
Right window 7 Cart 3 Red bag 6 Tool box 3
Tall cabinet 5 Chalkboard 3 Radiator 5 Gray tote 2
Desk 4 Blinds 1 Upholstered chair 3 Above boxes 1
Short cabinet 4 Desk chair 1 Shelf 1 Back table 1
Trash can 4 Pedestal 1 Table 1 Doorway 1
Map on chalkboard 1 Trash can 1 Painted box 1
Pencil sharpener 1 Paint container 1
Table 1 Trash can 1
Totals 57 57 56 55

 

which conclusion would be appropriate. Observer coding of
dog behavior was not likely to improve the reliability of the
data acquired because the double-blind study design had the
potential for the observers to be subject to the same biases as
the handlers. In fact, it is possible that the observers were
subject to greater biases than the handlers, since they were
able to observe every dog twice. Therefore, observer coding
would have been subject to the same possible explanations
as the handlers, and further subject to question according to
level of observer experience with working dogs. Future
studies should directly explore underlying factors respon-
sible for the false alerts as this will improve development of
effective remedies to optimize performance.

Dogs can learn to respond to human gestures very rap-
idly (Bentosela et al. 2008; Elgier et al. 2009; Udell et al.
2008). Thus, it is tempting to speculate that the large
number of false alerts resulted from reinforcement of dogs
for false alerts received in earlier conditions. However, the
pattern of alerts, consistent across days of testing (Fig. 3),
suggests that alerts did not reflect a simple learning effect.
This is supported by prior studies of human dog social
cognitive interactions demonstrating no clear learning
effect when comparing early with later trials (Hare et al.
2002; Riedel et al. 2008).

When considering alternative explanations for the
incorrect responses, it is further possible that some alerts
resulted from target scent contamination during initial
setup of conditions. This is unlikely, given the emphasis of
alerts toward marked sites, particularly when considering
that the pattern of alerts was modified by human influence.
The array of alert locations (Table 2) also does not support
this explanation, notably because no dogs alerted on or
around the doors where the scent containers had briefly
been placed. Moreover, detection dogs are trained to

identify scent source rather than scattered residual scent.
For example, dogs trained to alert on gunpowder are not
expected to alert in an airport area simply because an
armed officer passes through. The significant trend (Fig. 3)
further suggests that a temporal component contributed to
the number of alerts under these experiments.

It is possible, although also unlikely, that all objects in
the room smelled like the dogs’ target scents. Because
these were rooms in a church building that had not previ-
ously been used for detection dog training, it was also
unlikely that there were explosives or drugs that had been
stored within the testing rooms. Some handlers suggested
the possibility that dogs were following previous dogs and
alerting at locations in which these dogs had salivated or
otherwise left trace evidence of their presence. This would
not explain the difference in patterns of alerts between
marked and unmarked conditions or the variation in alert
locations across all conditions. This would also be unlikely
given the extensive training and certification processes
required of these teams.

It is important to emphasize that this study did not
evaluate performance of dogs when presented with scent.
Handler-dog teams undergo substantial training and rig-
orous certification prior to deployment; all teams included
in this study confirmed prior successful finds during active
deployment. This study only considered number of
alerts under the artificially manipulated condition of
handler belief of scent when in fact no scent was present.

In conclusion, these findings confirm that handler beliefs
affect working dog outcomes, and human indication of
scent location affects distribution of alerts more than dog
interest in a particular location. These findings emphasize
the importance of understanding both human and human
dog social cognitive factors in applied situations.

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